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                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re:                                                                               Chapter: 13
          Sharea L Farmer
Debtor(s)                                                                            Case No: 14−11734−mdc
_____________________________________________________________________________________________
                                                        ORDER

            AND NOW, 7/17/19 , it appearing that the debtor must file either a statement regarding

completion of a course in personal financial management, see 11 U.S.C. § 1328(g)(1), or a request for

a waiver from this requirement, see 11 U.S.C. § 109(h)(4),

             Additionally, it appearing that the debtor must file a certification regarding domestic support

obligations and Section 522(q), see 11 U.S.C. §1328(a),

             And the statement regarding personal financial management and the domestic support

obligation certification were due no later than the last payment made by the debtor as required

by the plan or the filing of a motion for entry of a discharge under § 1328(b), see Bankruptcy Rule 1007(c),

             Accordingly, it is hereby ORDERED that the debtor shall have 14 (fourteen) days from the date

of this order to file

                      A statement regarding completion of an instructional course concerning
                  personal financial management, (Official Form B423) or a request for a waiver
                  from such requirement.

                      A certification regarding domestic support obligations and Section 522(q),
                  (Director's Form B2830);

            If the debtor fails to do so, then this case may be closed, without further notice or hearing, and without
the debtor receiving his/her chapter 13 discharge.




                                                                                For The Court

                                                                                Magdeline D. Coleman

                                                                                Chief Judge ,United States
                                                                                Bankruptcy Court



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                                                                                                                  Form 212
